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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

HUMANE CONSUMER LLC,

Plaintiff, Civil Action No.: 18-civ-05622
(PKC)
Vv.

COB ECOMMERCE EMPIRE LLC d/b/a
KEEVA ORGANICS, CRAWFORD AND
O’BRIEN LLC, CHARLES CRAWFORD,
MICHAEL O’BRIEN AND AMAZON.COM,
INC.,

Defendants.

COB ECOMMERCE EMPIRE LLC d/b/a
KEEVA ORGANICS,

Defendant/Third Party Plaintiff,
v.
MICHAEL KIM,

Third Party Defendant.

-COB ECOMMERCE EMPIRE LLC d/b/a
KEEVA ORGANICS, et al.,

Defendant/Counterclaim Plaintiff,
v.

HUMANE CONSUMER LLC,

Plaintiff/Counterclaim Defendant.

47126975;2
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STIPULATION AND [PROPOSED] ORDER OF SUBSTITUTION OF COUNSEL

WHEREAS, Plaintiff and Counterclaim Defendant Humane Consumer LLC and Third
Party Defendant Michael Kim are desirous to retain the services of Ira S. Sacks and Mark S.
Lafayette of Akerman LLP as their counsel in this action in substitution to their current counsel
Paul W. Siegert;

WHEREAS, Paul W. Siegert has no objection to such substitution and desires to withdraw
as counsel in this action; and

WHEREAS, the action is in its earliest stages with certain parties having not yet answered
the complaint and with discovery having not yet commenced.

IT IS HEREBY STIPULATED, REPRESENTED, AGREED AND ORDERED as
follows:

1. Ira S. Sacks and Mark S. Lafayette of Akerman LLP shall be substituted in the
place of Paul W. Siegert as counsel for Plaintiff and Counterclaim Defendant
Humane Consumer LLC and Third Party Defendant Michael Kim.

2. With the consent of Plaintiffand Counterclaim Defendant Humane Consumer LLC
and Third Party Defendant Michael Kim, Paul W. Siegert be permitted to withdraw
and be relieved of all further responsibility to Plaintiff and Counterclaim Defendant
Humane Consumer LLC and Third Party Defendant Michael Kim in the above

referenced litigation.

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Paul Siegert represents and warrants that he is not asserting a charging or retaining

lien in connection with this matter.
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Dated: New York, New York
November 30, 2018

Akerman LLP

y: Ira S Speke

Mark S, Lafayette

666 Fifth Avenue, 20" Floor.
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212-880-3800

ira, sacks@akerman.com

mark, lafayette@akerman.com
Incoming Attorneys for Plaintiff »
and Counterclaim Defendant
Humane Consumer LLC and Third
Party Defendant Michael Kim

Acknowledged And Agreed To:

umane Consumer LLC

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(0) Jog

Michael Kim, General Manager

WA \

Michael Kim

SO ORDERED:

Paul W, Siegert

307 Fifth Avenue, 4" Floor

New York, New York 10016

212-564-8181

paulsiegert@aol.com

Outgoing Attorney for Plaintiff and Counterclaim

- Defendant Humane Consumer LLC and Third Party

Defendant Michael Kim

Hon, P, Kevin Castel
United States District Judge
